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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Angel Alejandro Heredia Mons, et al.,     )
on behalf of themselves and others        )
similarly situated,                       )
                                          )
                   Plaintiffs,            ) Case No. 1:19-cv-01593-JEB
                                          )
         v.                               )
                                          )
Chad Wolf, Acting Secretary of the        )
Department of Homeland Security, in his   )
official capacity, et al.                 )
                                          )
                  Defendants.             )
                                          )

 INTERVENOR’S REPLY TO DEFENDANTS’ RESPONSE TO MOTION FOR LEAVE
         TO INTERVENE AND TO UNSEAL JUDICIAL DOCUMENTS


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                                       INTRODUCTION

       Intervenor, The Center for Investigative Reporting (“CIR”), moved to unseal the monthly

submissions filed by Defendants, barring disclosure of any personally identifying information.

ECF No. 95 at 1-2. Defendants filed a response that took no position on whether the right of access

applied. ECF No. 100 at 3 (“To the extent CIR contends that the information in the remaining

columns of the spreadsheets filed pursuant to the Court’s October 7, 2019 order should be publicly

accessible, Defendants defer to the Court as to whether or not to grant that aspect of the relief

requested by CIR.”). Unopposed, this Court should grant that motion for reasons already stated

by CIR. See generally ECF No. 95-1.

       Although Defendants assert that the administrative burden of unsealing justifies continued

secrecy of parole determinations previously filed with this Court, see ECF No. 100 at 3-4, the U.S.

Court of Appeals for the District of Columbia Circuit has recently reiterated that administrative

burden is not a justifiable reason to overcome the right to access. See In re Leopold to Unseal

Certain Elec. Surveillance Applications & Orders, 964 F.3d 1121, 1131-33 (D.C. Cir. 2020).

Moreover, the Government’s claim that the cumulative nature of the records justifies secrecy is

undercut by Defendants’ own admission that the records differ (even if minimally). Last,

Defendants’ conclusory claim that unsealing all prior submissions does not have a public benefit

is wholly unfounded and controverted by Intervenor’s previous statements.

                                         ARGUMENT

   A. Defendants Have Failed to Meet Their Burden, So All Records Should Be Unsealed.

       Defendants have failed to meet their burden to justify continued sealing. Where the

common law and First Amendment rights of access apply to the sealed records, the Court should

release those records unless the Government can show that continued withholding “is essential to
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preserve higher values and is narrowly tailored to serve that interest.” Dhiab v. Trump, 852 F.3d

1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring). Here, Defendants do not allege that the

right of access does not apply, see generally ECF No. 100, and even so, the Government fails to

meet both of its requirements, so all records must be unsealed.

       The Government has not stated how continued secrecy is “essential to preserve higher

values.” Indeed, the Government has not identified a single interest justifying continued sealing.

This Court has enumerated a narrow set of interests that justify sealing, including privacy, national

security concerns, trade secrets, and potential of threats of prejudice. See United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citation omitted, footnotes omitted). Defendants

listed none of these interests. Even if they had, these reasons would not be credible in this instance.

Cf. Washington Post v. Robinson, 935 F.2d 282, 283-85, 291-92 (D.C. Cir. 1991) (rejecting

government’s argument that plea agreement should remain sealed because it “was part of an

ongoing criminal investigation” and holding that this was an insufficient interest where unsealing

records “could hardly have posed any additional threat to the ongoing criminal investigation”)

(citation omitted).

       Additionally, even if the Government had articulated some credible compelling interest,

that still would not justify keeping the records entirely out of the public’s sight, because limits on

access must be narrowly tailored to survive constitutional scrutiny. The Supreme Court and the

D.C. Circuit have held that courts must consider alternatives to wholesale sealing when

adjudicating requests for access to judicial records and proceedings. See Press-Enterprise Co. v.

Super. Ct., 478 U.S. 1, 13-14; Robinson, 935 F.2d at 287. Where Defendants have not met their




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burden, all the enumerated records (including the declaration and attached exhibits) must be

unsealed.1

      B. Undue Burden is an Unjustified Reason for Continued Sealing According to This
         Circuit’s Caselaw.

         Without providing a legitimate reason for sealing records, the Government makes the

unjustified claim that this Court should not release records because it would be unduly

burdensome. ECF No. 100 at 3-4 (stating that, to the extent the Court unseals the records, “the

Court’s order only should apply prospectively and that the Court should not order the unsealing of

prior monthly submissions, which would be burdensome”). The Government states:

         An order addressed to prior submissions would place the burden on either the Clerk,
         or Defendants, to ensure the redaction of the personally identifying information in
         the three columns of each spreadsheet (Exhibit “A” and “B” to the Metoyer
         Declaration) before those prior filings are placed on the public docket. That would
         be a burdensome task, and create the potential for the inadvertent disclosure of
         personally identifying information, given the volume of pages at issue (several
         hundred pages when the prior submissions are considered collectively).

Id. at 4.

         But “administrative burden” is insufficient to thwart the right of access. See In re Leopold,

964 F.3d at 1133 (“[A]lthough administrative burden is relevant to how and when documents are

released, it does not justify precluding release forever.”). As the D.C. Circuit explained in In re

Leopold, if the right attaches, records should be released. Id. (“The records at issue here are not

nailed into a nondescript crate, stored deep in a sprawling, uncataloged warehouse. Cf. RAIDERS

OF THE      LOST ARK (Lucasfilm Ltd. 1981)”). “Production may be time-consuming, but time-

consuming is not the same thing as impossible.” Id. That is because the right of access to judicial

records is grounded in the importance of judicial transparency and accountability to the public, not



1
    As stated in CIR’s motion, Intervenor does not request private information be unsealed.


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the convenience of the government. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

565-69 (1980). For this reason, the previously filed records should be unsealed.2

    C. Defendants’ Claim That Prior Records Should Not Be Unsealed Because They Are
       Cumulative Is Unjustified.

       “What transpires in the court room is public property.” Craig v. Harney, 331 U.S. 367,

374 (1947). As Supreme Court Chief Justice John Roberts recently explained, “it’s not as if we’re

doing this in secret. . . . [The judicial branch is] the most transparent branch in government.” Chief

Justice John G. Roberts, Remarks at 2018 Federal Judicial Conference of the Fourth Circuit (June

29, 2018), available at https://cs.pn/39cI4d4. Public access to judicial records ensures that the

public can fully understand what transpired in the court and furthers the value of government

accountability. Indeed, this need for transparency is especially heightened in cases involving the

court’s oversight of government actions. Hubbard, 650 F.2d at 314-16 (“Access to records serves

the important functions of ensuring the integrity of judicial proceedings in particular and of the

law enforcement process more generally.”) (citation omitted). Accordingly, the public must have

access to the motions, briefs, and other materials that courts rely upon to make their decisions.

This transparency allows the public and the press to monitor the judicial branch, fostering trust in

the judicial system. See Sheppard v. Maxwell, 384 U.S. 333, 350 (1966).

       Here, the Government claims that the spreadsheets and declarations3 previously filed with



2
 Even if the administrative burden were a justifiable reason for sealing records, maintaining sealed
matters is actually quite onerous. See Stephen Smith, Gagged, Sealed, & Delivered: Reforming
ECPA’s Secret Docket, 6 HARV. L. & POL’Y REV. 313, 334 (2012) (“[S]ecrecy also has a financial
cost, because sealed records are more burdensome for clerk’s offices to maintain than open
records.”); see also Tim Reagan & George W. Cort, Fed. Judicial Ctr., Sealed Cases in Federal
Courts (2009), available at https://www.fjc.gov/sites/default/files/2012/SealCaFC.pdf.

3
 Moreover, to the extent the Government argues that the declarations should be withheld, this
Circuit has previously stated they must be disclosed. In In re Leopold, this Court expressly


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this Court are “cumulative in nature”—as “the data on them for past reporting periods would be

encompassed within future monthly submissions”—and should therefore remain sealed. ECF No.

100 at 4. However, the Government contradicts itself, admitting that these records are not in fact

identical and are possibly meaningfully different:

        For instance, information contained on an earlier spreadsheet may have been
        corrected, or otherwise updated, on a more recent spreadsheet. In addition, on
        occasion, a spreadsheet may only have reflected information for the reporting
        period at issue[.]

Id. at 2 n.2.

        These type of “corrections,” “updates,” and differences in filed records are important

information for the public to see—particularly where they involve such important data as parole

information. Hubbard, 650 F.2d at 315-16 (noting that access ensures integrity of judicial

proceedings and law enforcement). Any differences may reveal important changes or updates

made by the Government that require government accountability. To the extent that these

differences even reflect corrections, those, too, would be useful in identifying prior oversights or

improper decision-making.4 Where release of information is clearly in the public interest, the

Government cannot—without more explanation, and especially given possible changes over

time—credibly claim a “limited benefit to the public” exists.




recognized that requests for court records “and their supporting documents” are subject to the
common-law presumption of access. 964 F.3d at 1128, 1133.
4
  To the extent the Government harbors this concern, there is no reason to anticipate that the
unsealing of these documents would lead to the reporting of simple clerical errors or inaccuracies
or would otherwise create opportunity for abuse. “The press does not simply publish information
about trials but guards against the miscarriage of justice by subjecting the police, prosecutors, and
judicial processes to extensive public scrutiny and criticism.” Sheppard, 384 U.S. at 350 (“A
responsible press has always been regarded as the handmaiden of effective judicial
administration.”).


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                                        CONCLUSION

       As the records at issue are covered by the well-established right of access under the

common law and First Amendment, and as the Government has not met its weighty burden to

override the public’s interest in these records, unsealing is necessary. For these reasons and the

others discussed above, this Court should grant Intervenor’s Motion in full.


                                             Respectfully submitted,


Dated: September 30, 2020                    By:    /s/ D. Victoria Baranetsky
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                                CERTIFICATE OF SERVICE

       I certify that on September 30, 2020, I served a copy of the foregoing document on the

Court and all parties of record by causing this document and its attachments to be filed with the

clerk of the Court through the CM/ECF system, which will provide electronic notice of this

document to all attorneys of record.



Date: September 30, 2020

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